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 8
     Attorney for NCO Financial Systems, Inc.

 9
                             UNITED STATES DISTRICT COURT
10
                            EASTERN DISTRICT OF CALIFORNIA
11

12   MICHAEL HENSTEBECK,                              ) Case No. 09 CV 00211-GEB-GGH
                                                      )
13         Plaintiff,                                 )
                                                      )
14         vs.                                        )       STIPULATION TO DISMISS
                                                      )       ACTION WITH PREJUDICE
15   NCO FINANCIAL SYSTEMS, INC.,                     )
                                                      )
16                                                    )
                         Defendant.                   )
17                                                    )
                                                      )
18                                                    )
                                                      )
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21         Plaintiff, MICHAEL HENSTEBECK, filed the present action against NCO
22
     FINANCIAL SYSTEMS, INC. (“NCO”) on January 23, 2009. NCO filed a notice of
23
     appearance on February 17, 2009. The parties subsequently resolved the action in its
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25   entirety. As part of said resolution, the parties agree to dismiss the entire action with
26   prejudice.
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                                  Stipulation to Dismiss Action with Prejudice

                                                       1
           Case 2:09-cv-00211-GEB-GGH Document 9 Filed 03/19/09 Page 2 of 2


 1
              IT IS HEREBY STIPULATED by and between the parties to this action through
 2
     their designated counsel that the above captioned action is dismissed with prejudice
 3

 4   pursuant to Fed. R. Civ. Pro. 41.

 5

 6   Dated: March 19, 2009                SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 7

 8                                        /s/ Albert R. Limberg
                                          Albert R. Limberg
 9                                        Attorney for Defendant
10
                                          NCO Financial Systems, Inc.

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12
     Dated: March 19, 2009                KROHN & MOSS
13

14
                                          /s/ Ryan Lee
                                          Ryan Lee
15                                        Attorney for Plaintiff
                                          Michael Henstebeck
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17
     IT IS SO ORDERED:
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19                                        __________________________
     Dated:                               Hon. Garland E. Burrell, Jr.
20
                                          United States District Judge
21

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                                   Stipulation to Dismiss Action with Prejudice

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